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                               IN THE UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                       Case No.: 17-cv-60426-UU


   ALEKSEJ GUBAREV, XBT HOLDING S.A.,
   AND WEBZILLA, INC.

         Plaintiffs,

   vs.

   BUZZFEED, INC. AND BEN SMITH,

     Defendants.
   ____________________________________/

                             DECLARATION OF KATHERINE M. BOLGER

             I, Katherine M. Bolger, declare as follows:
             1.        I am a partner at Davis Wright Tremaine LLP, counsel to Defendants, BuzzFeed,
   Inc. and Ben Smith, in this action.
             2.        I make this declaration in order to annex exhibits relied upon in Defendants’
   Opposition to Plaintiffs’ Daubert Motion to Exclude the Testimony of Anthony J. Ferrante.
             3.        Annexed hereto as Exhibit 1 is a true and correct copy of the document widely
   referred to as the “Dossier,” which was attached Exhibit 3 to Plaintiffs’ Complaint.
             4.        Annexed hereto as Exhibit 2 is a true and correct copy of transcript of the
   deposition of Anthony J. Ferrante.
             5.        Annexed hereto as Exhibit 3 is a true and correct copy of a May 13, 2016 article
   entitled Russia ‘was behind German parliament hack” for BBC News, printed from the website
   https://www.bbc.com/news/technology-36284447.
             6.        Annexed hereto as Exhibit 4 is a true and correct copy of the July 13, 2018
   federal indictment in U.S. v. Netyksho, Case No. 1:18-cr-00215-ABJ (D.D.C.) (the “Mueller
   Indictment”).
             7.        Annexed hereto as Exhibit 5 is a true and correct copy of relevant excerpts of
   transcript of the deposition of Nikolay Dvas.
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          8.      Annexed hereto as Exhibit 6 is a true and correct copy of relevant excerpts of
   transcript of the deposition of Kostyantyn Bezruchenko.
          9.      Annexed hereto as Exhibit 7 are a true and correct copy of relevant excerpts of
   transcript of the deposition of April 30, 2018 deposition of Aleksej Gubarev.
          10.     Annexed hereto as Exhibit 8 is a true and correct copy of relevant excerpts of
   transcript of the deposition of Marc Goederich.
          11.     Annexed hereto as Exhibit 9 are a true and correct copy of of Exhibits 19A and
   19B from the Goederich Deposition.
          12.     Annexed hereto as Exhibit 10 is a true and correct copy of Exhibit INT-2 from
   the April 30, 2018 deposition of Aleksej Gubarev.
          13.     Annexed hereto as Exhibit 11 is a true and correct copy of Exhibit 63 from the
   deposition of Nikolay Dvas.
          14.     Annexed hereto as Exhibit 12 is a true and correct copy of a January 12, 2017
   statement by XBT Holding S.A., printed from the website
   http://xbtholding.com/news/2017/01/xbt-statement-on-unsubstantiated-buzzfeed-report.html.
          15.     Annexed hereto as Exhibit 13 is a true and correct copy of Exhibit 21 from the
   deposition of Kostyantyn Bezruchenko.
          16.     Annexed hereto as Exhibit 14 is a true and correct copy of the transcript of the
   deposition of Jochem Steman.
          17.     Annexed hereto as Exhibit 15 is a true and correct copy of Exhibit 82 from the
   deposition of Nikolay Dvas.
          18.     Annexed hereto as Exhibit 16 is a true and correct copy of Exhibit 10 from the
   deposition of Jochem Steman.
          19.     Annexed hereto as Exhibit 17 is a true and correct copy of a presentation from
   Bitly, Inc., including a sample spear-phishing email, which is Exhibit 4 to the Report of Anthony
   Ferrante.
          20.     Annexed hereto as Exhibit 18 is a true and correct copy of an October 10, 2017
   email from Katherine M. Bolger to counsel for Plaintiffs and the reply October 12, 2017 email
   from Matthew Shayefar to counsel for Defendants.
          21.     Annexed hereto as Exhibit 19 is a true and correct copy of the declaration of
   Mark Josephson, CEO of Bitly, Inc.



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          22.    Annexed hereto as Exhibit 20 is a true and correct copy of the curriculum vitae of
   Anthony Ferrante, which is Exhibit 1 to his Report.
          I declare under penalty of perjury that the foregoing is true and correct.

   Executed on: October 29, 2018                                /s/ Katherine M. Bolger
                                                                Katherine M. Bolger




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